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                                           UNITED STATES DISTRICT COURT
                                          CENTRAL DISTRICT OF CALIFORNIA
                                                  CRIMINAL MINUTES - GENERAL




 Case No.         CR 11-01075 SJO                                                                 Date     June 17, 2013


 Present: The Honorable        S. James Otero

 Interpreter

            Victor Paul Cruz                           Margarita Ramirez                             Benjamin R Barron
                Deputy Clerk                    Court Reporter/Recorder, Tape No.                  Assistant U.S. Attorney



                U.S.A. v. Defendant(s):               Present Cust. Bond            Attorneys for Defendants:     Present App. Ret.

Vincent Vo                                              xx            xx     Dominic Cantalupo                       xx      xx



 Proceedings:       SENTENCING



Hearing held.

In preparation for this proceeding the Court indicates that it has reviewed the following
pleadings: The Presentence Report (PSR) [485] disclosed on 02/04/2013, and the confidential
letter recommendation. The government’s sentencing position [563] filed 05/24/2013. The
government concurs with the base level of 6 as stipulated to in the plea agreement, plus a four
level adjustment for loss exceeding $10,000. The government argues that a 2-level increase
should be applied pursuant to 2B1.1(b) (10) (C) because the offense involved the possession or
use of any authentication feature and a two-level enhancement under § 2B1.1 (b) (11) (A)
because the offense involved sophisticated means. The Court indicates that it has previously
addressed these issues in the sentencing of co-defendant (10) Mikayel Ghukasyan and
incorporates its statements from that matter to this case. The government also argues that a
two-level increase should be applied under U.S.S.G. § 3A1.1(b) (1) because the “defendant
knew or should have known that a victim of the offense was a vulnerable victim.” The
defendant’s sentencing position [570] filed 06/03/2013. The defendant requests that the Court
impose a sentence of straight probation, for a term of 24 months, with conditions that do not
include a term of confinement. Defendant asserts that an additional 4-level downward
adjustment is warranted based on his minimal role in the offense. The Court indicates that it
will not rule on defendant’s factual objections to the PSR because it will not change the
sentence that the Court will impose. Government’s response re sentencing [583] filed
06/13/2013. First Addendum to Presentence Report [581] and the Revised PSR [580]
addressing the objections. Defendant’s objection to presentence investigation report [584] filed
06/13/2013. Supplemental position of Defendant re: sentencing letters [585] filed 06/13/2013.
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Supplemental sentencing information re: declaration of defendant [587] filed 06/14/2013.

Defendant acknowledges that he has reviewed the PSR with his counsel.

Defendant exercises his right of allocution.

Counsel argue.

Defendant’s request that the Probation Officer revise the addendum is denied.

Defendant exercises his right of allocution.

Defendant’s request for an evidentiary hearing is denied.

Having considered the sentencing factors enumerated at 18 U.S.C. § 3553(a), including the
advisory guideline range of 10 to 16 months based upon an adjusted offense level of 12 and a
criminal history category of I, the Court imposes the following sentence:

It is ordered that the defendant shall pay to the United States a special assessment of $100,
which is due immediately.

Defendant shall pay restitution in the total amount of $13,138 pursuant to 18 U.S.C. § 3663A,
to the victim as set forth in a separate victim list prepared by the probation office which this
Court adopts and which reflects the Court's determination of the amount of restitution due. The
victim list, which shall be forwarded to the fiscal section of the clerk's office, shall remain
confidential to protect the privacy interests of the victims.

Defendant shall be given credit for any restitution already paid in regards to defendant’s State
conviction. This adjustment shall be made by the Probation Officer.

The defendant shall make nominal monthly payments of at least $100 during the period of
supervised release. These payments shall begin 30 days after release from custody. Nominal
restitution payments are ordered as the court finds that the defendant's economic circumstances
do not allow for either immediate or future payment of the amount ordered.

Pursuant to 18 U.S.C. § 3612(f)(3)(A), interest on the restitution ordered is waived because the
defendant does not have the ability to pay interest.

Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the
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defendant, Vincent Vo, is hereby committed on Count one of the First Superseding
Information to the custody of the Bureau of Prisons for a term of 10 months. Five months of
incarceration shall be served in the custody of the Bureau of Prisons, the remaining five months
shall be served under home confinement with electronic monitoring.

Upon release from imprisonment, the defendant shall be placed on supervised release for a term
of two years under the following terms and conditions:

      1.     The defendant shall comply with the rules and regulations of the U. S. Probation
Office, General Order 05-02, and General Order 01-05, including the three special conditions
delineated in General Order 01-05;

      2.   The defendant shall not commit any violation of local, state or federal law or
ordinance;

      3.    During the period of community supervision the defendant shall pay the special
assessment and restitution in accordance with this judgment's orders pertaining to such
payment;

      4.    The defendant shall cooperate in the collection of a DNA sample from the
defendant; and

      5.    The defendant shall apply all monies received from income tax refunds, lottery
winnings, inheritance, judgements and any anticipated or unexpected financial gains to the
outstanding court-ordered financial obligation.

The drug testing condition mandated by statute is suspended based on the Court's determination
that the defendant poses a low risk of future substance abuse.

Defendant shall terminate any employment, paid or unpaid, with any medical service provider
or organization that handles healthcare information, with the exception for care that he provides
to his parents

IT IS FURTHER ORDERED defendant shall self-surrender himself to the institution designated
by the Bureau of Prisons on or before, August 16, 2013, 12 noon. In the absence of such
designation, the defendant shall report on or before the same date and time, to the United States
Marshal at Roybal Federal Building, 255 East Temple St., Los Angeles, California, 90012.


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The Court advises the Defendant of his right to appeal.

The bond shall be exonerated upon surrender.

In the interest of justice the Court grants the government's motion to dismiss the underlying
indictment as to this defendant only.

The Court determines that the defendant is a low-risk to reoffend and low-risk in terms of any
issues regarding incarceration, and therefore recommends that the Bureau of Prisons allow this
defendant to serve incarceration at Terminal Island or the Metropolitan Detention Center.




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                                                      Initials of Deputy Clerk       vpc




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